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                          TINITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

 UMTED STATES OF AMERICA"                               INDICTMENT

                       Plaintifl                        18 U.S.C. $ e22(g)(1)
                                                        18 u.s.c. $ e2a@)(2)
        v.                                              18 U.s.C. $ e24(dx1)
                                                        21   u.s.c.   $ 841(a)(1)
 AUGUSTUS QUINTRELL           LIGHT,                    2l U.S.C.     $ 841(b)(l)(A)   -
 a/kla "Stow,'o                                         2l U.S.C.     $ 841(bXl)(C)    -
                                                        21 U.S.C.     $ 8s3
                      Defendant.                        28 U.S.C.     $ 2461(c)



       TFIE UMTED STATES GRAND JURY CHARGES THAT:

                                      COUNT 1
             @ossession With Intent To Distribute a Controlled Substance)

       On or about December 7,2019, in the State and District of Minnesota" the defendant,

                          AUGUSTUS QTIINTRELL LIGHT,
                                       a/k/a "Stow,'o

did knowingly and intentionally possess with intent to distribute 50 grams or more of

methamphetamine (actual), a controlled substance, all in violation of Title 21, United States

Code, Sections 8a1(aX1) and 8a1@)(1)(A).

                                     COUNT 2
             @ossession With Intent To Distribute Controlled Substances)

       On or about December 7,2019, in the State and District of Minnesota, the defendant,

                          AUGUSTUS QUINTRBLL LIGHT,
                                  a./k/a "Stow,"


did knowingly and intentionally possess with intent to distribute a mixture and substance

containing a detectable amount     of heroin, and a mixture and substance containing       a
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 detectable amount of cocaine, both of which are controlled substances, in violation of Title

 21, United States Code, Sections 8al(a)(1) and S t@)(lXC).

                                              COUNT 3
                                 (Felon in Possession of Ammunition)

         On or about December 7,2019, in the State and District of Minnesota, the defendant,

                                 AUGUSTUS QUINTRELL LIGHT"
                                                     alk/a ooStow,'o

 having previously been convicted of the following felony crimes, each of which was

punishable by imprisonment for a term exceeding one year,




                    Crime                                     Jurisdiction of       Date of Conviction
                                                               Conviction             (in or about)
    Criminal Vehicular Operation             -            St. Louis County, MN         Jarruarv 2002
       Substantial Bodilv Harm

 Criminal Damage To Property            -    First
                                                         St. Louis County, MN           May 2003
                    Degree

   Felon in Possession of a Firearm                        U.S. District Court,
                                                          District of Minnesota         Apnl 2004

                                                           U.S. District Court,
  Possession of Contraband in Prison                                                 December 2014
                                                              S.D.Indiana

            Terroristic Threats                          Hennepin County, MN           March 2018

and knowing he had been convicted                    of at least one crime punishable by a term of
imprisonment exceeding one year, did knowingly possess,                      in and affecting   interstate

commerceo ammunition, namely CCVSpeer brand .45 caliber ammunition, all in violation

of Title 18, United States Code, Sections 922(g)(I) and92a@)Q).




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                                  FORFEITURE ALLE GATIONS

        Counts 1-3 of this Indictment are hereby realleged and incorporated as if fully set

forth herein by reference, for the purpose of alleging forfeitures.

        If convicted of an offense alleged in Counts I or 2 of this Indictment,    the defendant

shall forfeittothe United States, pursuantto      Title2l,United   States Code, Section 853(a)(1)


and (2), any property constituting, or derived fromo any proceeds obtained directly or

indirectly, as a result of such offense and any property usedo or intended to be used,'in any

manner or part, to commito or to facilitate the commission of that offenseo including but not

limited to approximately $4,800 seized from the defendant's residence in Naytahwaush,

Minnesota on or about December 7.2019.

        If   convicted    of an offense alleged in Counts I, 2, or 3 of this Indictment, the

defendant shall forfeit to the United States any frearms, accessories, and ammunition

involved in or used in connection with the violation, including but not limited to six rounds

of CCVSpeer .45 caliber ammunition, a Sig Sauer Model P226 9mm Luger caliber pistol

(serial number 47C008016), and a Hi-Point Model JI{P .45 Auto caliber pistol (serial

number X4348821), pursuant             to Title 18, United States Code, Section 924(d)(l), and

Title 28, United States Code, Section 2a6I@).

        If   any of the above-described forfeitable properly is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute properfy as provided for in Title

21, United States Code, Section 853(p).
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                                            A TRUE BILL




TINITED STATES          ATTORNEY                   FOREPERSON




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